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                         UNITED STATES BANKRUPTCY COURT
                          SOUTHERN DISTRICT OF FLORIDA

In re:
                                                     Case No.: 21-10746-LMI-
                                                     Chapter 13
         Stanley E Pacheco & Jessica A Aguirre
                   Debtor(s)       /

                 OBJECTION TO CLAIM ON SHORTENED NOTICE

          IMPORTANT NOTICE TO CREDITOR: THIS IS AN OBJECTION
                            TO YOUR CLAIM

        This objection seeks either to disallow or reduce the amount or change the
priority status of the claim filed by you or on your behalf. Please read this objection
carefully to identify which claim is objected to and what disposition of your claim is
recommended. Upon the filing of this objection an expedited hearing on this objection
will be scheduled on the date already scheduled for the confirmation hearing in
accordance with Local Rule 3007-1(B)(2).

        Pursuant to Bankruptcy Rule 3007 and Local Rule 3007-1(B)(2), the
[trustee][debtor] objects to the following claim filed in this case:

Claim                                                       Amount of
No.              Name of Claimant                           Claim

13       United Consumer Financial Services                 $2,034.60

Basis for Objection and Recommended Disposition

On or about April 8, 2021, United Consumer Financial Services (“Creditor”), filed a
secured proof of claim for a Rainbow Cleaning Vacuum System in the amount of $2,034.60
with no arrearages and a secured portion of $627.28 (account ending in 6036). The
collateral securing this debt is a vacuum system which the Debtors no longer have since
the collateral broke and was disposed of. The Debtor requests the claim be stricken as a
secured claim and allowed as a fully unsecured claim in the full amount of $2,034.60.

The undersigned acknowledges that this objection and the notice of hearing for this
objection will be served on the claimant and the debtor at least 14 days prior to the
confirmation hearing date and that a certificate of service conforming to Local Rule 2002-
1(F) must be filed with the court when the objection and notice of hearing are served.

DATED: June 4, 2021                                  Respectfully Submitted:
                                                     Robert Sanchez, P.A.
                                                     355 West 49th Street
                                                     Hialeah, FL 33012
                                                     Fl. Bar No. 0442161
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